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  IT IS ORDERED as set forth below:



   Date: September 12, 2019
                                                          _____________________________________
                                                                     Wendy L. Hagenau
                                                                U.S. Bankruptcy Court Judge

_______________________________________________________________


                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                         )       CASE NO. 19-61688-WLH
                                               )
EAT HERE BRANDS, LLC, et al.,                  )       CHAPTER 11 jointly administered
                                               )
                       Debtor.                 )       JUDGE WENDY L. HAGENAU
                                               )

                           ORDER OF ADMISSION PRO HAC VICE

         It appearing to the Court that Kate Ellis states under penalty of perjury she meets the

requirements for admission pro hac vice as set forth in Local Rule 9010-2 and is in good standing

and eligible to practice in all courts to which admitted, it is therefore

         ORDERED that the petition of Kate Ellis to appear pro hac vice on behalf of FreshPoint

Atlanta, Inc., FreshPoint North Carolina, Inc. (t/a FreshPoint Raleigh and t/a FreshPoint Nashville,

Inc.), Sunrise Fresh Produce, LLC (t/a Sunrise Jackson), Sysco Central Alabama, Inc., Sysco

Charlotte, LLC, Sysco Knoxville, LLC, Sysco Memphis, LLC, Sysco Jackson, LLC and Creation

Gardens, Inc. in the United States Bankruptcy Court, Northern District of Georgia, in the above-

referenced case is granted.

                                     ### END OF ORDER ###


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DISTRIBUTION LIST

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